Case: 1:17-md-02804-DAP Doc #: 2371-4 Filed: 08/14/19 1 of 8. PageID #: 386384




             PSJ3
           Exhibit 549
Case: 1:17-md-02804-DAP Doc #: 2371-4 Filed: 08/14/19 2 of 8. PageID #: 386385
Case: 1:17-md-02804-DAP Doc #: 2371-4 Filed: 08/14/19 3 of 8. PageID #: 386386
Case: 1:17-md-02804-DAP Doc #: 2371-4 Filed: 08/14/19 4 of 8. PageID #: 386387
Case: 1:17-md-02804-DAP Doc #: 2371-4 Filed: 08/14/19 5 of 8. PageID #: 386388
Case: 1:17-md-02804-DAP Doc #: 2371-4 Filed: 08/14/19 6 of 8. PageID #: 386389
Case: 1:17-md-02804-DAP Doc #: 2371-4 Filed: 08/14/19 7 of 8. PageID #: 386390
Case: 1:17-md-02804-DAP Doc #: 2371-4 Filed: 08/14/19 8 of 8. PageID #: 386391
